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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


   SMART VENT INC.,                        HONORABLE JEROME B. SIMANDLE

                     Plaintiff,                    Civil Action
                                               No. 10-168 (JBS/KMW)
         v.

   USA FLOODAIR VENTS, LTD.,                    MEMORANDUM OPINION

                     Defendant.


  SIMANDLE, Chief Judge:

        In this patent infringement and unfair competition action,

  both Plaintiff Smart Vent Inc. (hereinafter, “Plaintiff”) and

  Defendant USA Floodair Vents, Ltd.’s (hereinafter, “Defendant”)

  move for reconsideration of this Court’s June 27, 2016 Opinion

  and Order granting Plaintiff’s summary judgment motion in part

  and denying it in part on the issue of infringement, and

  granting in part and denying in part on the issue of unfair

  competition, while denying Defendant’s motion for summary

  judgment in its entirety.       See Smart Vent, Inc. v. USA Floodair

  Vents, Ltd., 193 F. Supp. 3d 395 (D.N.J. 2016).          For the reasons

  that follow, both Defendant’s motion for reconsideration and

  Plaintiff’s motion for clarification/partial reconsideration

  will be denied.    The Court finds as follows:

        1.    Factual and Procedural History.       The Court thoroughly

  described the relevant background of this case leading up to
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  summary judgment in Smart Vent, Inc., 193 F. Supp. 3d at 395 and

  need not repeat it here.      As relevant to the pending motions,

  the Court (1) granted Plaintiff’s cross-motion for summary

  judgment of infringement [Docket Item 153] on the claim term

  “door”     (2) denied Plaintiff’s cross-motion for summary judgment

  of infringement on the claim term “outer frame,” and (3) granted

  in part Plaintiff’s cross-motion for summary judgment on the

  unfair competition claims, specifically on the issue of whether

  Defendant falsely or misleadingly advertised its product as

  compliant with Technical Bulletin 1-08 and on the question of

  whether Defendant’s vents traveled in interstate commerce

  (prongs one and four).1

        2.     Standard of Review. Local Civil Rule 7.1(i) provides

  that a party moving for reconsideration must set forth

  “concisely the matter or controlling decisions which the party

  believes” the Court “overlooked” in its prior decision.           L. CIV.

  R. 7.1(i).    The party seeking reconsideration, however, bears

  the heavy burden of demonstrating either: “‘(1) an intervening

  change in controlling law; (2) the availability of new evidence

  not available previously; or (3) the need to correct a clear

  error of law or prevent manifest injustice.’”         Andreyko v.


  1 The Court also declined to amend the meaning of the term
  “recessed,” and struck portions of the Opatkiewicz and Bergaglio
  Declarations because they contained inadmissible hearsay. Smart
  Vent, Inc., 193 F. Supp. 3d at 413-16.
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  Sunrise Sr. Living, Inc., 993 F. Supp. 2d 475, 478 (D.N.J. 2014)

  (citations omitted).

        3.   A motion for reconsideration, however, constitutes an

  extremely limited procedural vehicle, and does “not provide the

  parties with an opportunity for a second bite at the apple,”

  Tishcio v. Bontex, Inc., 16 F. Supp. 2d 511, 532 (D.N.J. 1998),

  nor a vehicle “to relitigate old matters, or to raise [new]

  arguments” that could have been presented in connection with the

  court’s original decision.      NL Indus., Inc. v. Commercial Union

  Ins. Co., 935 F. Supp. 513, 516 (D.N.J. 1996); see also Tishcio,

  16 F. Supp. 2d at 532 (same). “Unless a court has truly failed

  to consider pertinent authorities or evidence that could not

  with reasonable diligence have been presented earlier, a motion

  to reconsider a decision (even one that may contain an error) is

  generally futile.” CPS MedManagement LLC v. Bergen Regional

  Medical Center, L.P., 940 F. Supp. 141, 168 (D.N.J. 1996).

  Indeed, mere disagreement with the court’s decision should be

  dealt with through the normal appellate process.          See Andreyko,

  993 F. Supp. 2d at 478; see also Shevline v. Phoenix Life Ins.,

  No. 09-6323, 2015 WL 348552, at *1 (D.N.J. Jan. 23, 2015)

  (same).

        4.   Defendant’s Grounds for Reconsideration. Defendant

  first argues that the Court’s granting of partial summary

  judgment on the first prong of the unfair competition claim,

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  that Defendant made a false or misleading statement concerning

  its product, was contrary to the record.         The Court concluded,

  as a matter of law, that “USA Floodair made at best a misleading

  and at worst a false statement that the USA Floodair vents

  comply with TB-1.” Smart Vent. Inc., 193 F. Supp. 3d at 424.

  The Court relied on its earlier determination that TB-1 calls

  for an individual certification different from that provided by

  Defendant, in that “TB-1 details the individual certification

  process only in connection with ‘unique or individually designed

  openings or devices,’ not in connection with mass-produced flood

  vents like those manufactured by USA Floodair.” Id. at 403 n.

  13.   Defendant takes issue with the Court’s finding, as it

  argues that the Court overlooked or ignored the declaration of

  Dianne Otto, the former Planning and Zoning Manager for the City

  of Tybee Island, Georgia. (Def. Br. at 5.)         Defendant believes

  that Ms. Otto’s Declaration, if considered, actually creates a

  genuine dispute of material fact because she states in her

  declaration that she was in contact with Sue Hopfensperger, who

  was conducting an audit of Tybee Island on behalf of FEMA, and

  that the SAMPLE certificate that Ms. Otto received from Ms.

  Hopfensperger “is an individual certificate for mass produced

  vents and that it explicitly references TB-1-08,” thereby

  creating a genuine dispute of material fact regarding the false

  or misleading statement prong. (Id.)

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        5.   The Court finds that it did not overlook or ignore the

  Otto Declaration.     Affidavits and declarations considered on

  summary judgment must “set out facts that would be admissible in

  evidence. . . .” Fed. R. Civ. P. 56(c)(4); see also Smith v.

  City of Allentown, 589 F.3d 684, 693 (3d Cir. 2009)(“Hearsay

  statements that would be inadmissible at trial may not be

  considered for purposes of summary judgment.”).          The Federal

  Rules of Evidence define hearsay as “a statement that: (1) the

  declarant does not make while testifying at the current trial or

  hearing; and (2) a party offers in evidence to prove the truth

  of the matter asserted in the statement.” Fed. R. Evid. 801(c).

  Most importantly, in the relevant April 18, 2014 email from Ms.

  Otto to Mr. Opatkiewicz, (Otto Decl. ¶ 9; Ex. E), instead of

  attaching the actual email or producing a document she received

  from the “FEMA auditors” she described, Ms. Otto reproduces the

  statement from their email reading: “See the attached example

  [SAMPLE certificate].     The technical bulletin requires the

  engineer’s flood opening certification have specific pieces of

  information. Attached is an example of what needs to be on it,

  like the detailed calculations.” (Ex. E. to Otto Decl.)           This

  out-of-court statement is inadmissible hearsay that does not

  fall into an exception.      First, it is unclear whether the “FEMA

  auditors” noted in the April 18, 2014 email describes Ms.

  Hopfensperger, or someone else.       In addition, as Plaintiff

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  articulated at oral argument, Ms. Otto’s declaration states that

  Ms. Hopfensperger “doesn’t work for FEMA, she works for a

  company that was retained by FEMA to conduct an audit for FEMA.

  This is not FEMA.” (Tr. 84: 18-20.)        Defendant concedes that Ms.

  Hopfensperger works for Insurance Services Office, Inc. (“ISO”),

  “the company that administers the day-to-day work of the

  [Community Rating System],” which “is an important part of the

  National Flood Insurance Program which is run by FEMA.” (Def.

  Br. at 3 n.2 and 4 n.3.)      Defendant’s attempt to characterize

  Ms. Hopfensperger as a FEMA representative does not persuade the

  Court to reconsider its decision, nor does any representation

  from Ms. Hopfensperger to Ms. Otto who then emailed Mr.

  Opatkiewicz, an employee of Defendant.        Finally, Defendant does

  not proffer that Ms. Hopfensperger will be called to testify at

  trial, rendering her statement non-hearsay.         Defendant has

  failed to sufficiently articulate why Ms. Otto’s declaration was

  overlooked or that it created a genuine issue of material fact

  on prong one of the unfair competition claim; therefore,

  granting reconsideration is inappropriate.

        6.   Defendant cites J.F. Feeser, Inc. v. Serv-A-Portion,

  Inc., 909 F.2d 1524, 1542 (3d Cir. 1990) for the proposition

  that hearsay evidence produced in an affidavit opposing summary

  judgment may be considered if the out-of-court declarant could

  later present the evidence through direct testimony, i.e., in a

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  form that “would be admissible at trial.”         There, the Court held

  that because “there is no indication that [the out-of-court

  declarant] would be unavailable to testify at trial,” the

  averments in the affidavit in question “are capable of proof

  through admissible evidence.” Id. Unlike J.F. Feeser though,

  here, not only is Ms. Otto a “resident of [Kentucky]” so “she

  couldn’t be compelled to come here,” but her averments would

  still not be capable of proof through admissible evidence given

  the various levels of hearsay in the Declaration as previous

  discussed. (Tr. 66: 7-8.)      Furthermore, as Plaintiff explains,

  Ms. Hopfensperger’s residency “has never been disclosed (or even

  mentioned) by USA Flood,” so there is no indication that she

  would be able to testify at trial at all. (Pl. Br. at 12 n. 9.)

  Even if Ms. Otto were to testify at trial, the double-hearsay

  problem as to what Ms. Hopfensperger said would still preclude

  considering Hopfensperger’s statements.        As a result, the Court

  properly considered Ms. Otto’s Declaration, and determined that

  it along with other evidence submitted by Defendant was

  insufficient to create a genuine issue of material fact

  regarding the first element of the unfair competition claim.

        7.   Next, Defendant argues that the Court incorrectly

  disregarded portions of the Bergaglio and Opatkiewicz




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  declarations as inadmissible hearsay.2 Defendant argues that

  testimony is “admissible on its own” because Mr. Opatkiewicz can

  “testify about emails he received and sent,” the contents of

  those emails, and “what he did upon receiving those emails.”

  (Def. Br. at 9.)3    Additionally, it argues that “Ms. Bergaglio is

  competent to testify as to what she heard and what action she

  took in response to that phone call.” (Id. at 8.)          The Court

  explained that the disputed declaration paragraphs in Mr.

  Opatkiewicz’s declaration are hearsay, given that they disclose

  “conversations he had with Ms. Otto regarding exchanges she had




  2 In its Opinion, the Court found that ¶¶ 9-13, 16 & 18 of the
  Opatkiewicz Declaration and ¶¶ 4 & 11 of the Bergaglio
  Declaration must be disregarded because “they recite little more
  than largely unknown and hearsay exchanges between a non-party
  and FEMA representatives.” Smart Vent Inc., 193 F. Supp. 3d at
  415.
  3 Additionally, Defendant argues that the Court’s Opinion

  overlooked paragraph 11 in Mr. Opatkiewicz’s Supplemental
  Declaration which indicates that Exhibits E-K to his original
  Declaration are Defendant’s business records and therefore fall
  under Rule 803(6), Fed. R. Evid. (Def. Br at 8.) Plaintiff
  responds that Mr. Opatkiewicz’s “retention of the April 18th
  email does not transform the underlying unproduced email from
  the alleged ‘FEMA auditors’ into an admissible USA Floodair
  business record.” (Pl. Br. at 12-13.) Of course, “[h]earsay
  within hearsay is not excluded . . . if each part of the
  combined statements conforms with an exception to the rule.”
  Fed. R. Evid. 805. Not only does Defendant fail to prove
  specific evidence demonstrating how the emails at issue qualify
  as business record, but even if this first layer of hearsay (Mr.
  Opatkiewicz’ emails with Ms. Otto and others) would be covered
  by the business records exception, Defendant has not put forth
  any reasoning why the second layer of hearsay (e.g., Ms. Otto’s
  exchanges with FEMA auditors and surveyor Dale Yawn) is
  admissible.
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  with FEMA auditors” and “then express[] his view based upon

  these third-party conversations that FEMA found USA Floodair’s

  certifications ‘acceptable.’” Smart Vent Inc., 193 F. Supp. 3d

  at 415; see also Blackburn v. United Parcel Serv., 179 F.3d 81,

  95 (3d Cir.1999)(hearsay statements not admissible at trial

  cannot be considered on summary judgment motion).          Regarding Ms.

  Bergaglio, the Court explained that her statement that she

  received a phone call from a “building official from the City of

  Tybee Island, Georgia,” who requested on behalf of FEMA, “more

  information on certifications” USA Floodair had provided for its

  “flood vents” was unprovable hearsay, Smart Vent Inc., 193 F.

  Supp. 3d at 415, and that the fact that Dietrich Engineering

  certified that Defendants’ flood events exceeded the

  specifications for flood events as also inadmissible hearsay.4

        8.   The Court finds no reason to reconsider these

  findings, as Defendant simply repeats arguments previously


  4 Defendant also argues that the Court failed to make all
  reasonable inferences in Defendant’s favor as the non-moving
  party because “TB-1-08 never states that the individual
  certifications cannot be used for mass produced flood vents,” so
  the Court should not have “reasonably inferred that no such
  prohibition was intended.” (Def. Br. at 9) The Court simply
  interpreted the plain language of TB-1, as it is apparent from
  TB-1 that mass-produced flood events are not covered by the
  “engineered openings with individual certification.” [Ex. C to
  Opatkiewicz Decl.] Moreover, a “party’s mere disagreement with
  a decision of the district court should be raised in the
  ordinary appellate process and is inappropriate on a motion for
  [reconsideration].” Morris v. Siemens Components, Inc., 938 F.
  Supp. 277, 278 (D.N.J. 1996).
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  analyzed by the Court from summary judgment motion practice.

  (See Def. Reply Br. to MSJ at 27-29.) See Tehan v. Disability

  Mgmt. Servs., Inc., 111 F. Supp. 2d 542, 549 (D.N.J.

  2000)(“Motions for reconsideration will not be granted where a

  party simply asks the court to analyze the same facts and cases

  it had already considered . . .”).        The Court properly

  considered the admissibility of the Opatkiewcz and Bergaglio

  Declarations, and found that portions of them recite “little

  more than largely unknown and hearsay exchanges between a non-

  party and FEMA representatives.” Smart Vent Inc., 193 F. Supp.

  3d at 416.    Nothing has been presented to change that view.

        9.     Next, Defendant argues that the Court should have

  granted it partial summary judgment since Plaintiff did not

  offer any evidence supporting its entitlement to a doctrine of

  equivalents analysis for the “outer frame” dimensional

  limitation. (Def. Br. at 11.)       But the Court noted that “Smart

  Vent has not briefed the application of doctrine of equivalents

  infringement to the claim term ‘outer frame,’ and argues instead

  only literal infringement, while USA Floodair likewise focuses

  its attention only on literal infringement.         Thus, the Court

  does not address the doctrine of equivalents relative to the

  claim term ‘outer frame’”. Smart Vent Inc., 193 F. Supp. 3d at

  417 n.35.    Plaintiff argues that any issues Defendant has with

  this claim limitation “are more properly addressed in a motion

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  in limine or otherwise in the pre-trial process.” (Pl. Br. at

  16.) Given that Smart Vent is not pursuing a theory of

  infringement under the doctrine of equivalents, the Court

  declines to reconsider its denial of partial summary judgment on

  the doctrine of equivalents analysis of “outer frame.”           The

  Court assumes Smart Vent will confirm it does not rely upon the

  doctrine of equivalents regarding the “outer frame” dimensional

  limitation when the Joint Final Pretrial Order is prepared, if

  not sooner.

        10.   Defendant next argues that the Court erred because it

  submitted evidence which raised a genuine dispute of material

  fact with respect to infringement of the “recessed” limitation

  under the doctrine of equivalents.        The Court found that

  Defendant’s flood vents literally infringed the “recessed” door

  limitation of claim 15, and also concluded that “even if it

  found no literal infringement because of the protruding nature

  of the pull tabs (which it does not), the USA Floodair vent

  would still infringe the “door” limitation under an equivalence

  analysis, because the pull tabs differ in an unsubstantial way,

  and otherwise perform substantially the same way to obtain

  substantially the same result, because both enable manual

  bidirectional rotation.” Smart Vent, 193 F. Supp. 3d at 422 n.

  42.   Defendant claims that in reaching this conclusion, the

  Court overlooked the testimony in Ms. Bergaglio’s Supplemental

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  Declaration, where she stated “[i]f the door of USA Floodair’s

  flood vents were recessed from the front and back of the outer

  frame, the pull tabs would have to be much narrower. This would

  made them much more difficult to grasp, particularly since they

  are so low to the ground when installed. It would also make it

  much more difficult to get enough leverage to open the door.”

  (Bergaglio Supp. Decl. ¶ 5.)       Defendant explains that this is

  “admissible testimony that the differences would not be

  insubstantial and that recessed pull tabs would not perform in

  substantially the same way or provide substantially the same

  result.” (Def. Br. at 12.) But Defendant simply repeats

  arguments from its summary judgment briefing (see Reply Br. at

  18-19), something it cannot do in a motion for reconsideration,

  as previously explained.5      The Court appropriately explained its

  reasoning in footnote 42 of its Opinion, and therefore declines

  to reconsider its finding on the term “recessed.”




  5 Defendant also takes issue with the Court’s characterization
  that it “issued [individual] certifications” in footnote 19 of
  the Opinion, but the Court provided proper context by
  subsequently quoting directly from Plaintiff’s Statement of
  Material Facts. (Def. Br. at 13; Pl. SMF at ¶ 89.) The Court
  will therefore nor delete or correct the verb “issued” in
  footnote 19 of the Opinion. Additionally, Defendant argues that
  the Court misstated the stipulation for “fluid passageway” (Def.
  Br. at 13). In order to avoid confusion in the future, the
  Court will amend the Opinion to state that “fluid passageway” is
  construed as “the open area between the interior sides of the
  walls of the frame through which water can flow.” [Docket Item
  107.]
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         11.   Plaintiff’s Grounds for Clarification/Reconsideration.

  Moving to Plaintiff’s motion for reconsideration, the Court

  first addresses Plaintiff’s assertion in granting Plaintiff

  summary judgment on the first and fourth prongs of the unfair

  competition claim, that the Opinion overlooked that Defendant’s

  mass-produced engineered flood vents cannot be labeled “FEMA-

  compliant,” “NFIP-compliant,” or “NFIP-certified.” (Pl. Br. at

  11.)   Specifically, Plaintiff argues that the Court should have

  discussed FEMA’s NFIP Insurance Manual, specifically the “Lowest

  Floor Guide” certification requirements, because otherwise,

  industry participants could claim FEMA and NFIP compliance

  without meeting FEMA’s interpretations of its regulations. (Id.

  at 12-13).    As a result, Plaintiff asks the court to enter

  summary judgment on the first and fourth elements of an unfair

  competition claim not only as to Defendant’s TB-1 misstatements,

  but as to all of Defendant’s allegedly false or misleading

  statements, including Defendant’s FEMA-compliant, NFIP-

  compliant, and NFIP-certified misstatements.

         12.   The Court made no such error.      Smart Vent already made

  these arguments in its summary judgment briefing, (See Pl. SMJ

  Opp’n at 33-34), and the Court properly explained that “because

  the regulations of the NFIP . . . require nothing more than a

  certification, the only statements that fairly buttress Smart

  Vent’s unfair competition claims become those directed at

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  compliance with TB-1.” Smart Vent Inc., 193 F. Supp. 3d at 423.

  The language regarding certifications in the Lowest Floor Guide

  is essentially the same as in TB-1, as it requires ICC-

  Evaluation Reports for companies like Defendant.6          But even if

  the Court wanted to parse out the Lowest Floor Guide claim,

  Plaintiff has not demonstrated entitlement to summary judgment

  as a matter of law, because it remains unclear whether the

  Lowest Floor Guide, as part of the NFIP Flood Insurance Manual,

  carries the force of law.7      In other words, Plaintiff claims that

  the Lowest Floor Guide through the Manual constitutes a portion

  of the NFIP, making Defendant’s claims of “FEMA-compliant,”

  “NFIP-compliant,” or “NFIP-certified” false or misleading, but

  it fails to demonstrate that the Lowest Floor Guide constitutes

  a binding portion of the NFIP itself.8        Defendant never claimed

  that it was “Manual Compliant” or “Lowest Floor Guide

  Compliant,” unlike the false and/or misleading “TB-1 Compliant”

  claim, so the Court will not enter summary judgment regarding




  6 The Lowest Floor Guide actually states that “[d]esign
  requirements and specifications for certification statements are
  outlined in FEMA Technical Bulletin 1-08.” [Docket Item 150.]
  7 The Lowest Floor Guide states that it is “to be used as a guide

  for identifying the lowest floor for rating buildings being
  considered for coverage under the National Flood Insurance
  Program.” [Docket Item 150.]
  8 Notably, Plaintiff only attaches the Lowest Floor Guide to its

  summary judgment briefing [Docket Item 150], as it did not
  attach the entire Manual. As a result, the Court is unable to
  determine the legal status of the Manual.
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  the Manual and Lowest Floor Guide issue.         This material fact

  dispute remains for trial.

        13.    Next, Plaintiff argues that the Court overlooked

  Defendant’s misstatements concerning “Saving Money” on flood

  insurance through the purchase of its mass-produced engineered

  flood vents, and that it should enter summary judgment one the

  first and fourth elements with respect to Defendant’s “saving

  money” on insurance misstatements as well. (Pl. Br. at 13, 15.)

  Plaintiff argued in its summary judgment briefing (and repeats

  again in the reconsideration briefing) that meeting FEMA’s

  requirements as reflected in TB-1 and the NFIP Insurance Manual

  “are the prerequisite to saving money on flood insurance under

  the NFIP,” and since Defendant failed to adhere to those

  requirements, its advertisement that its vents will allows its

  customers to “save money” on their flood insurance is misleading

  and or false. (Pl. SMJ Opp’n at 48-49; Pl. Br. at 14.)

  Defendant responds that Plaintiff has “never offered any

  evidence that these statements were false or misleading.”            (Def.

  Br. at 3.)    The Court agrees.     In its reply brief in the

  original summary judgment motion, Defendant attached an email

  from a Mr. Ernie Plant to Mr. Opatkiewicz explaining that after

  “purchas[ing] 7 flood vents from [Defendant],” his “flood

  insurance has been reduced by over 80%!” (Supp. Opatkiewicz

  Decl. ¶ 14 and Ex. U.)      Given Plaintiff’s equivocal evidence of

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  the falsity of Defendant’s “saving money” claim, and with

  Defendant putting forth evidence that a consumer actually saved

  money, the Court declines to modify its entry of summary

  judgment to include that claim in favor of Plaintiff.           This

  dispute remains for trial.

         14.   Finally, Plaintiff argues that the way the Court

  construed NFIP-Compliance and NFIP-Certification overlooks

  FEMA’s certification requirements set forth in the NFIP

  Insurance Manual. (Pl. Br. at 15.)        Plaintiff makes a conclusory

  statement that “[b]eing NFIP-compliant or NFIP-certified

  requires compliance with FEMA’s NFIP Insurance Manual and the

  Lowest Floor Guide provisions contained therein.” (Id. at 16.)

  The Court disagrees, as Plaintiff is simply seeking to

  relitigate the Court’s finding that it “cannot find anything

  false or misleading in USA Floodair’s advertisement of an NFIP-

  compliant flood vent, simply because its vents fall short of the

  guidance provided in TB-1, because its certification process

  otherwise comports with the limited facial requirements of 40

  C.F.R. § 60.3(c)(5).” Smart Vent Inc., 193 F. Supp. 3d at 402

  n.9.   Given that “courts in this District routinely deny motions

  for reconsideration that simply re-argue the original motion,”

  School Speciality, Inc. v. Ferrentino, No. 14-4507, 2015 WL

  4602995, at *3 (D.N.J. July 30, 2015), the Court declines to

  modify summary judgment entered in Plaintiff’s favor with

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  respect to Defendant’s “NFIP-Compliant,” “NFIP-certified,” and

  “FEMA-Compliant” statements. Again, these aspects of Plaintiff’s

  allegations remain for adjudication at trial.

        15.   For all of these reasons, Plaintiff’s motion for

  clarification/partial reconsideration will be denied.

        16.   An accompanying Order will be entered.




   March 15, 2017                            s/ Jerome B. Simandle
  Date                                      JEROME B. SIMANDLE
                                            Chief U.S. District Judge




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